     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 1 of 58



 1   KATHERINE F. WENGER/ CA SB# 223045
     MARRISA R. BOYD/CA SB #319255
 2   BROWN, GEE & WENGER LLP
     200 Pringle Avenue, Suite 400
 3   Walnut Creek CA 94596
     Telephone: (925) 943-5000
 4   Facsimile: (925) 933-2100
     kwenger@bgwcounsel.com
 5
     ATTORNEYS FOR PLAINTIFF
 6   CHRISTOPHER R. O’BRIEN,
     AS TRUSTEE OF THE RAYMOND F. O’BRIEN
 7
     REVOCABLE TRUST
 8
     SEYFARTH SHAW LLP
 9   G. Daniel Newland (SBN 87965)
     Email: dnewland@seyfarth.com
10   Laura J. Maechtlen (SBN 224923)
     E-mail: lmaechtlen@seyfarth.com
11   Chantelle C. Egan (SBN 257938)
     E-mail: cegan@seyfarth.com
12   Megha J. Charalambides (SBN 310892)
     Email: mcharalambides@seyfarth.com
13   560 Mission Street, Suite 3100
     San Francisco, CA 94105-2930
14   Telephone:     (415) 397-2823
     Facsimile:     (415) 397-8549
15   Attorneys for Defendants
     XPO CNW, INC.
16   and XPO Logistics, Inc.
17
                             UNITED STATES DISTRICT COURT
18
                          NORTHERN DISTRICT OF CALIFORNIA
19

20     CHRISTOPHER F. O’BRIEN, as trustee of    CASE NO. 4:16-cv-03869-JSW
       the Raymond O’Brien Revocable Trust ,    Filed: 5/27/16
21
                    PLAINTIFF,                  [PROPOSED] FINAL PRETRIAL ORDER
22
       v.
23

24                                              HONORABLE JEFFREY S. WHITE
       XPO CNW, Inc., a Delaware Corporation,
25     XPO LOGISTICS INC., a Delaware
          corporation;
26                  DEFENDANTS.
27

28
                                                                                  1
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 2 of 58



 1          Pursuant to the Court’s Case Management and Pretrial Order, Plaintiff Christopher R.
 2   O’Brien, in his capacity as Trustee of the Raymond F. O’Brien Family Trust (“Plaintiff” or
 3   “Christopher O’Brien”), and Defendants XPO CNW, Inc. (“CNW”) (formerly known as Con-
 4   Way, Inc., CNF, Inc., CNF Transportation, Inc., and before that Consolidated Freightways, Inc.)
 5   and XPO Logistics, Inc. (“XPO”) (collectively “Defendants”) (collectively the “Parties”) jointly
 6   submit the following [Proposed] Final Pretrial Order for the jury trial scheduled to commence on
 7   February 3, 2020.
 8   I.     CLAIMS AND DEFENSES
 9          A.      Plaintiff’s Claims
10          This matter was originally filed by Raymond O’Brien in May 2016.1 Due to Raymond
11   O’Brien’s death in February of 2017, Christopher O’Brien, in his capacity as the Trustee for
12   Raymond F. O’Brien Revocable Trust, substituted in as the plaintiff. Thereafter Plaintiff filed an
13   Amended Complaint, which is the current operative pleading and includes claims for breach of
14   contract (against CNW), elder abuse (against CNW and XPO) and intentional interference with
15   contract (against XPO). All of these claims are based on and seek to recover damages that
16   Plaintiff alleges Raymond O’Brien suffered as a result of CNW discontinuing the monthly
17   $6,000 payment to Raymond O’Brien in December 2015 (an action which Plaintiff alleges was
18   undertaken at XPO’s direction). In December of 2018, the Court granted Plaintiff’s motion for
19   partial summary judgment as to his first cause of action for breach of contract against CNW. See
20   ECF No. 165 (“MSJ Order”).2
21          The claims that remain to be adjudicated by the jury are elder abuse and intentional
22   interference with contract. Damages that Plaintiff seeks to recover include economic damages,
23

24
     1
      Due to the fact that multiple individuals with the last name O’Brien are involved in this matter,
     Raymond O’Brien is referred to by his full name rather than just “Raymond O’Brien” and for the
25   same reason, Plaintiff Christopher O’Brien is referred to as either Plaintiff or Christopher
     O’Brien.
26   2
       In referencing the MSJ Order, including its factual finding that there was a contract between
27   CNW and Raymond O’Brien, Defendants do not waive their objections or right to appeal the
     MSJ Order. Likewise, Defendants respectfully object to and do not concede to the findings in
28   the MSJ Order, expressly reserving their right to appeal.

                                                                                                        2
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 3 of 58



 1   non-economic damages (emotional distress/pain and suffering), punitive damages and treble
 2   damages as set forth below.
 3          B.      Defendants’ Defenses3
 4          Defendants deny having knowledge or awareness that a valid contract was formed
 5   between Raymond O’Brien and Consolidated Freightways, Inc., in or around 1987, and further
 6   deny knowledge or awareness that said contract was modified in or around 2006. Defendants
 7   contend that because they reasonably had no knowledge of the existence of an enforceable
 8   contract at the time of the alleged breach and alleged interference, Plaintiff’s claims for
 9   intentional interference with contract against XPO, and financial elder abuse against CNW and
10   XPO fail. Defendants further contend the conduct at issue was not performed with malice,
11   oppression, or fraud, nor did their conduct result in severe emotional distress to Raymond
12   O’Brien.
13          Defendants also claim that as a stranger to the contract between CNW and Raymond
14   O’Brien, XPO cannot be liable for intentional interference with contract or elder abuse. XPO
15   asserts the affirmative defense of privilege.
16   II.    RELIEF SOUGHT
17          Plaintiff, through his claim for financial elder abuse seeks to recover from CNW and
18   XPO the following:
19                  1.      $6,000 a month from December 1, 2015 through February 3, 2017
                            ($90,000), with prejudgment interest at a rate of 10% per annum pursuant
20                          to Civil Code section 3287 and 3289;
21                  2.      Damages for emotional distress in the amount $250,000 as provided by
                            California Welfare and Institutions Code section 15657.5(b);
22
                    3.      Punitive Damages of $1,000,000 pursuant to California Civil Code section
23                          3294 and California Welfare and Institutions Code section 15657.5(c);
24                  4.      An additional $2,000,000 in treble damages as provided for by California
                            Civil Code section 3345; and
25

26
27   3
       Notwithstanding the MSJ Order, CNW denies that it had a contract with Raymond O’Brien, as
28   alleged in Plaintiff’s First Amended Complaint.

                                                                                                       3
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 4 of 58



 1                   5.      Attorneys’ Fees and Costs in an amount to be determined via post-
                             judgment motion pursuant to California Welfare and Institutions Code
 2                           section 15657.5(a).
 3           Plaintiff, through his claim for intentional interference with contract seeks to recover

 4   from XPO the following:

 5                   1.      $6,000 a month from December 1, 2015 through February 3, 2017
                             ($90,000), with prejudgment interest at a rate of 10% per annum pursuant
 6                           to Civil Code section 3287 and 3289;
 7                   2.      Punitive Damages of $1,000,000 pursuant to California Civil Code section
                             3294
 8
                     3.      An additional $2,000,000 in treble damages as provided for by Civil Code
 9                           section 3345.
10   III.    STIPULATED FACTS
11           The Parties stipulate to the following facts:

12           1.      Consolidated Freightways, Inc. was a publicly traded corporation.

13           2.      From 1958-1988 and then again from 1990-1991 Raymond O’Brien (“Raymond

14   O’Brien” or “O’Brien”) was employed by a company named Consolidated Freightways, Inc.

15           3.      O’Brien served as Consolidated Freightways, Inc.’s Chief Executive Officer

16   (“CEO”) from 1977 to 1988, and then again from July 30, 1990 to 1991.

17           4.      O’Brien served as a director on Consolidated Freightways, Inc.’s Board of

18   Directors from 1966 until April 1995.

19           5.      O’Brien was the Chairman of Consolidated Freightways, Inc. Board of Directors

20   from 1979 through April 1995.

21           6.      In 1987, Lary Scott was the President of Consolidated Freightways, Inc.

22           7.      On November 23, 1987, Lary Scott, signed the letter identified as Trial Exhibit 3

23   and transmitted that letter to O’Brien.

24           8.      On November 24, 1987, Lary Scott signed the letter identified as Trial Exhibit 4

25   and sent that letter to O’Brien.

26           9.      On November 30, 1987, O’Brien signed the letter identified as Trial Exhibit 5 and

27   sent that letter to Lary Scott.

28           10.     Consolidated Freightways, Inc.’s name changed three times between 1997 and
                                                                                                         4
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 5 of 58



 1   2006: first to CNF Transportation, Inc. in or around December 1996; second to CNF, Inc. in or
 2   around 2001; and third to Con-Way, Inc. in or around 2006 (collectively as to all names listed,
 3   “the Company”).
 4          11.      From 1988 through 2005, the Company employed O’Brien’s secretary, Elizabeth
 5   McKinley (AKA Betty Pipeson).
 6          12.      Following Mr. O’Brien’s retirement as CEO in 1988, Ms. McKinley worked
 7   solely with O’Brien.
 8          13.      Ms. McKinley retired in late 2005.
 9          14.      From January 1, 2006 to November 1, 2015, inclusive, the invoices bearing the
10   bates numbers RO000063-RO000182 (contained within Trial Exhibit 20) were received by the
11   Company and the Company paid these invoices.
12          15.      XPO Logistics, Inc. (“XPO”) is a publicly traded corporation.
13          16.      On September 9, 2015, the Company entered into the merger agreement identified
14   as Trial Exhibit 86 (the “Merger Agreement”) with XPO whereas, as of October 30, 2015, XPO
15   acquired all shares of the Company’s stock (the “Merger Transaction”).
16          17.      On October 30, 2015, the Merger Transaction closed, and the Company became a
17   wholly owned subsidiary of XPO.
18          18.      In or around November 1, 2015, CNW received the invoice attached as Trial
19   Exhibit 22 to the Company and the Company remitted payment on that invoice.
20          19.      On or around November 4, 2015, the Company changed its name to XPO CNW,
21   Inc. (“CNW”).
22

23          20.      From 2011 through 2015, Gordon Devens was employed by XPO Logistics, Inc.
24   (“XPO”) as its General Counsel and Senior Vice President.
25          21.      From 2015 through February of 2017 Gordon Devens was employed by XPO as
26   its Chief Legal Officer and Senior Vice President.
27          22.      From October 30, 2015 through 2017 Gordon Devens served as Vice President,
28   Secretary and a Director of XPO CNW, Inc.
                                                                                                       5
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 6 of 58



 1             23.     At the time that CNW ceased the $6,000 payment to O’Brien Interests, Inc.
 2   (“OBI”), Raymond O’Brien was in his 90s.
 3             24.     Raymond O’Brien passed away on February 3, 2017, at the age of 94.
 4             25.     Christopher O’Brien is currently the sole trustee of the Raymond F. O’Brien
 5   Revocable Trust (the “Trust”).
 6   IV.       FACTUAL ISSUES THAT REMAIN TO BE TRIED
 7             A.      Intentional Interference with Contract
 8             Plaintiff’s View of Factual Issues to be Tried
 9
               1.      Whether XPO undertook an intentional act designed to induce a breach or
10             disruption of CNW’s contractual relationship with Raymond O’Brien.

11             2.      Whether at the time that Gordon Devens instructed and caused CNW to stop
               making monthly payments to Raymond O’Brien he was acting on behalf of XPO or
12             instead was acting on behalf of CNW.
13
               3.   Whether Bradley Jacobs and/or Gordon Devens (acting on behalf of XPO) ratified
14             CNW’s conduct.

15             4.   Whether XPO (acting through Gordon Devens and Bradley Jacobs) in causing
               CNW to stop payments to O’Brien was acting to protect a legitimate financial interest in
16             CNW’s contract with O’Brien
17
               5.      Whether XPO was acting only to protect its financial interest.
18
               6.     Whether XPO in causing CNW to stop payments to O’Brien, did so using
19             appropriate means.
20             7.      Whether XPO’s actions were reasonable and in good faith.
21
               8.    Whether XPO’s actions were a substantial factor in causing Raymond O’Brien
22             harm.

23             9.      Whether XPO acted with oppression, fraud or malice.
24
               10.   The amount of damages suffered by Raymond O’Brien as a result of XPO’s
25             conduct.

26             Defendants’ View of Factual Issues Remaining to be Tried4
27

28   4
         Defendants list of remaining issues to be tried is submitted subject to their objection identified
                                                                                                              6
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 7 of 58



 1          1.        Whether Gordon Devens (“Devens”), on behalf of XPO, was acting as a stranger
 2                    to the contract between Raymond O’Brien and CNW.
 3          2.        Whether Devens,
 4          on behalf of XPO, had knowledge of the existence of a valid contract between Raymond
 5          O’Brien and CNW at the time of the alleged interference with contractual relations.
 6
            3.     Whether Devens, on behalf of XPO, undertook an intentional act designed to
 7          induce a breach or disruption of CNW’s contractual relationship with Raymond O’Brien.

 8          4.      Whether XPO had a legitimate financial interest in the contractual relations as a
            result of its ownership of CNW.
 9
            5.        Whether XPO was acting only to protect its financial interest.
10

11   6.     Whether XPO in causing CNW to stop payments to OBI, did so using appropriate means
            to protect its financial interests.
12
     7.     Whether XPO’s actions were reasonable and in good faith to protect its financial
13          interests.
14
            8.    Whether XPO’s actions were a substantial factor in causing Raymond O’Brien
15          harm.

16          9.        Whether XPO acted with oppression, fraud or malice.
17          10.   The amount of damages suffered by Raymond O’Brien as a result of XPO’s
18          conduct.

19          B.        Elder Abuse

20          Plaintiff’s View of Factual Issues Remaining to be Tried
21
            1.    Whether CNW and/or XPO (i) took, hid appropriated or retained Raymond
22          O’Brien’s property, or (ii) assisted in taking/hiding/appropriating/obtaining or retaining
            Raymond O’Brien’s property;
23
            2.       Whether either CNW and/or XPO (i) took, hid, appropriated, obtained or retained,
24          or (ii) assisted in taking, hiding, appropriating, obtaining, or retaining the property of
            Raymond O’Brien for a wrongful use or with the intent to defraud;
25

26
27

28   in footnote 2.

                                                                                                         7
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 8 of 58



 1             3.      Whether CNW and/or XPO, in stopping the $6,000 a month payment being made
               (or providing direction for such payments to be stopped) acted with recklessness,
 2             oppression, fraud or malice.
 3
               4.      Whether Raymond O’Brien suffered mental pain and suffering or emotional
 4             distress as a result of CNW and/or XPO’s actions.

 5             5.      Whether CNW and/or XPO actions were malicious, oppressive, fraudulent, and/or
               in reckless disregard of Raymond O’Brien’s rights.
 6

 7             6.     The amount of damages suffered by Raymond O’Brien.

 8             Defendants’ View of Factual Issues to Be Tried:5

 9             1.     Whether Devens, on behalf of CNW, took, secreted, appropriated, or retained real

10   or personal property of an elder adult for wrongful use.

11             2.     Whether Devens, on behalf of XPO, instructed CNW to take, secret, appropriate,

12   or retain real or personal property of an elder adult for wrongful use.

13             3.     Whether Devens,

14   on behalf of CNW, took, secreted, appropriated, or retained real or personal property of an elder

15   adult with intent to defraud.

16             4.     Whether Devens, on behalf of XPO, instructed CNW to take, secret, appropriate,

17   or retain real or personal property of an elder adult with intent to defraud.

18             5.     Whether Plaintiff can prove that Devens when acting on behalf of CNW, acted

19   with oppression, fraud, or malice.

20             6.     Whether Devens when acting on behalf of XPO, acted with oppression, fraud, or

21   malice.

22             7.     Whether Raymond O’Brien was financially harmed due to CNW’s conduct.

23             8.     Whether Raymond O’Brien was financially harmed due to XPO’s conduct.

24             9.     Whether Raymond O’Brien suffered severe emotional distress due to CNW’s

25   conduct.

26
27   5
       Defendants list of remaining issues to be tried is submitted subject to their objection identified
28   in footnote 2.

                                                                                                            8
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 9 of 58



 1           10.      Whether Raymond O’Brien suffered severe emotional distress due to XPO’s
 2   conduct.
 3           11.      Whether Devens was an officer, a director, or a managing agent of CNW, at the
 4   time he acted on behalf of CNW.
 5           12.      Whether Devens was an officer, a director, or a managing agent of XPO, at the
 6   time he acted on behalf of XPO.
 7           13.      Whether CNW’s alleged breach of contract was a substantial factor in causing
 8   Raymond O’Brien’s harm.
 9           14.      Whether XPO’s alleged interference with the alleged contract between Raymond
10   O’Brien and CNW was a substantial factor in causing Raymond O’Brien’s harm
11           15.      Whether XPO and CNW’s interests were aligned.
12           16.      Whether XPO acted with proper means.
13           17.      Whether the actions of Gordon Devens, on behalf of XPO, were fair and
14   reasonable under the circumstances.
15   V.      STIPULATIONS
16           The Parties have stipulated to the admissibility of Exhibits 2-8, 10, 12-17, 20, 23, 27, 30,
17   32-34, 43, 45-46, 54, 68, 72, 76, 86-87, 89; 91-93, 99-100, 102-104, 107-108, 111, 118-120,
18   124-128, 134, 138-141,153-154, 157, 163, 200, 204, 211-215, 223-224, 227, 229, 231, 234 and
19   also to the foundation/authenticity of all exhibits except Trial Exhibits 235-243. The Parties will
20   continue to meet and confer in an effort to stipulate to the admissibility and authenticity of all
21   remaining exhibits.
22           The Parties have also stipulated that the cross examination of any witnesses (at the
23   election of the party doing cross) may exceed the scope of direct examinations, to the extent the
24   witness appears on all Parties’ respective Witness Lists, so that witnesses will only be obligated
25   to testify once at trial.
26           All Parties have designated various documents and testimony confidential subject to the
27   Protective Order in place in this action (ECF No. 33). The Parties agree that for the purposes of
28   trial, that the Parties need not continue to treat such information as confidential and subject to the
                                                                                                          9
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 10 of 58



 1   Protective Order except for the following:
 2          Trial Exs. 13, 30 & 126, Notwithstanding the foregoing stipulation, other than for the
 3   purposes of trial, the Parties shall continue to be bound by and abide by the terms of the
 4   Protective Order in place.
 5   VI.    JOINT EXHIBIT LIST
 6          Attached hereto as Appendix A is a copy of the Parties’ Joint Exhibit List.
 7   VII.   WITNESS LISTS
 8          Attached hereto as Appendix B is a copy of the Parties’ respective Witness Lists.
 9   VIII. ISSUES TO BE DECIDED BY THE COURT
10          The following issues are to be decided by the Court rather than the jury after the jury had
11   made its factual findings:
12          1.      Over Defendants’ objection as to MSJ Order, the total damages to be awarded
13   against CNW and in favor of Plaintiff, including any and all prejudgment interest, on Plaintiff’s
14   breach of contract claim.
15          2.      Any prejudgment interest owed, if any, on any amount awarded in favor of
16   Plaintiff on his claims for intentional interference and elder abuse as provided for by California
17   Civil Code section 3287 and 3289.
18          3.      The form of entry of judgment, accounting for the different (and potentially
19   overlapping) damages that may be awarded on different claims.
20          4.      If Plaintiff obtains a jury verdict in its favor on his claim for Elder Abuse, the
21   issue of Plaintiff’s entitlement to attorneys’ fees and costs will be decided by the Court pursuant
22   to California Welfare and Institutions Code section 15657.5(a).
23          The Parties believe these are legal issues that should be decided by the Court.
24

25

26
27

28
                                                                                                         10
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 11 of 58



 1
       DATED: December30, 2019                     BROWN, GEE & WENGER LLP
 2

 3
                                                   /s/ Katherine Wenger
 4                                                 KATHERINE F. WENGER
                                                   Attorneys for Christopher R. O’Brien as
 5                                                 Trustee of the Raymond F. O’Brien
                                                   Revocable Trust
 6

 7     DATED: December 30, 2019                    SEYFARTH SHAW LLP
 8

 9                                                 //s/ Chantelle Egan
                                                   CHANTELLE EGAN
10                                                 Attorneys for Defendant XPO CNW, Inc.
11                                                 and XPO Logistics, Inc.

12                                           ORDER

13   The above PROPOSED ORDER is approved as the Final Pre-Trial Order for this case

14            IT IS SO ORDERED.

15
     Dated:                                   ____________________________________
16                                            Honorable Jeffrey S. White
17

18

19

20

21

22

23

24

25

26
27

28
                                                                                             11
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 12 of 58



 1

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT

 7                          NORTHERN DISTRICT OF CALIFORNIA

 8
     RAYMOND F. O’BRIEN, an individual,          Case No. 3:16-cv-03869-JCS
 9                    Plaintiff,
           v.                                    APPENDIX A
10   XPO LOGISTICS WORLDWIDE, INC., a
     Delaware corporation; CON-WAY GLOBAL        JOINT EXHIBIT LIST
11   SOLUTIONS, INC., a Delaware corporation;
     and DOES 1-20, inclusive,
12                    Defendants.
13

14
      PLAINTIFF'S         DESCRIPTION              DATE       DATE      LIMITATIONS
       EXHIBIT                                   OFFERED    RECEIVED
15                                                                        ON USE
       NUMBER                                      INTO       INTO
                                                 EVIDENCE   EVIDENCE
16
      1             Defendants Notice of
17                  Removal (ECF No. 1)

18

19

20

21

22
      2             Verified Complaint of
23                  Raymond O’Brien
      3             Letter from Lary Scott to
24                  Raymond O’Brien 11/23/87
                    RO000197-RO000198
25                  Raymond O'Brien Deposition
26                  Ex. 3
      4             Letter from Lary Scott to
27                  Raymond O’Brien 11/24/87
                    RO000199 Raymond O'Brien
28                  Deposition Ex. 4
                                                                                  12
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 13 of 58



 1    5          Letter from Raymond O’Brien
                 to Lary Scott dated 11/30/87
 2               RO000200 Raymond O'Brien
 3               Deposition Ex. 5
      6          Letter from Raymond O’Brien
 4               to Consolidated Freightways
                 Advisory Nominating
 5               Committee and Compensation
                 Committee 11/30/87
 6
                 XPO000051-XPO000056
 7               Raymond O'Brien Deposition
                 Ex. 6
 8    7          Letter from Raymond O’Brien
                 to Consolidated Freightways
 9               Board of Directors 11/30/87
                 Raymond O'Brien Deposition
10
                 Ex. 7
11    8          Company Disclosure Letter to
                 The Agreement and Plan of
12               Merger by and among XPO
                 Logistics, Inc. and Con-Way
13               Inc. 9/9/15 XPO001149-
14               XPO001291
      9          Bates Stamped/Produced
15               Versions of Exs. 3-7
                 (November 1987
16               correspondence)
                 XPO000043-48, 51-56
17

18

19    10         October 10, 2015 invoice from
                 O'Brien Interests, Inc. to Con-
20
                 Way, Inc. XPO000347
21    11         O’Brien Interests, Inc.
                 Statement to Con-Way
22               Transportation 5/18/16
                 RO000190-RO000196
23
      12         Con-Way Inc. Section 3.1(H)
24               Employee Benefits to
                 Disclosure Letter
25               XPO000315-XPO000324
      13         Restatement of the Raymond
26
                 F. O'Brien and May O'Brien
27               Revocable Trust July 24,
                 1984 (Restatement Dated
28               August 1, 2003)
                                                                        13
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 14 of 58



 1    14         Raymond O’Brien Assignment
                 of Claims 10/14/16
 2               RO000274-RO000278
 3    15         Email from Gordon Devens to
                 Renee O’Brien re Outstanding
 4               Invoices 3/8/16 11:25 a.m.
                 RO000211-RO000213 (XPO-
 5               05622-5631)
      16         Email from Gordon Devens to
 6
                 Renee O’Brien, Ray O’Brien
 7               re Raymond F. O’Brien,
                 3/17/16 RO000203-
 8               RO000204
      17         Email from Renee O’Brien to
 9               Gordon Devens re Raymond
10               F. O’Brien 3/25/16 8:25 a.m.
                 RO000214-RO000219
11    18         Consolidated Freightways,
                 Inc. Compensation Committee
12               Minutes of the Meeting of
                 December 7, 1987 XPO-
13               000021-22
14

15

16
      19         Letter from Thomas Ford to
17               Bob Weaver re: Lease
                 Amendment 9/18/92
18               XPO000383-XPO000384
19

20    20         O’Brien Interests Invoices to
                 Con-Way Transportation/
21               XPO from 1/1/06 to 6/1/16
                 RO000063-RO000189
22    21         O’Brien Interests Invoices
23               from 4/1/2011 through
                 6/2/2016. XPO000326,
24               CPO000328-334,
                 XPO000337-356,
25               XPO000362-367,
                 XPO005597, R.O'Brien
26               Deposition Ex. 9
27

28
                                                                        14
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 15 of 58



 1    22         O'Brien Interests November 1,
                 2015 Invoice (Hot! Hot! Hot!)
 2               XPO000348
 3

 4

 5
      32         O'Brien Interests December 1,
 6               2015 Invoice XPO000327
      24         Email from Michele Reed to
 7               Victoria Turner re: payments
                 to Raymond O’Brien
 8               XPO000358-XPO000361
 9
10

11    25         Consolidated Freightways
12               Annual Directors Meeting
                 4/27/87 XPO000088-
13               XPO000094

14

15
      26         Letter from Donald Moffitt to
16               CNF Transportation Director
                 Affairs Committee 1/14/98
17               XPO000470-XPO000472
18

19

20

21
      27         November 23, 1987 letter
22               from Lary R. Scott to R.F.
                 O’Brien signed by Donald
23               Moffitt 4/19/91 XPO000044-45
      28         February 10, 1998 Internal
24
                 Memorandum from Donald E.
25               Moffitt to Greg Quesnel and
                 Eb Schmoller XPO002772-
26               2773

27

28
                                                                        15
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 16 of 58



 1    30         Amendment to the Raymond
                 F. O’Brien and May Ann
 2               O’Brien Revocable - Trust
 3               Dated July 31, 2013 RO
                 000282-RO000286 (323-327)
 4    31         Order Substituting Parties
                 entered November 3, 2016
 5               (ECF No. 23)
 6

 7    33         Email from Debbie Barks to
                 Riina Tohvert (cc: Uzma
 8               Ahmad) dated 2/17/2016
                 XPO000335-336
 9
      34         Email from Riina Tohvert to
10               Renee O’Brien re Outstanding
                 Invoices 3/1/16 8:09 a.m.
11               RO000201-RO000202
      35         Consolidated Freightways,
12               Inc. Compensation Committee
13               Minutes 12/7/87 XPO005736-
                 5737
14

15

16

17

18    38         Lease for 3000 Sand Hill
                 Road signed January 7, 1988
19
                 XPO 000388-392
20

21

22

23    39         Consolidated Freightways,
                 Inc. Annual Directors Meeting
24               April 25, 1988
25

26
27

28
                                                                        16
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 17 of 58



 1    41         Consolidated Freightways
                 Advisory Nominating
 2               Committee Minutes 7/29/91
 3               XPO000624-XPO000626

 4

 5

 6

 7

 8    43         September 9, 2015 Press
 9               Release regarding XPO Con-
                 Way Acquisition (SEC Ex.
10               99.1)
      44         XPO Logistics, Inc. Form 8-K
11               Dated March 19, 2014
                 XPO005647-5680
12

13

14    45         XPO Delegation of Authority
                 Policy XPO-005681-5692
15
      46         Declaration of Raymond F.
16               O'Brien in Support of Trial
                 Setting Preference Pursuant
17               to Code of Civil Procedure §
                 36 with POS, filed June 24,
18               2016
19

20

21

22

23

24

25

26
27

28
                                                                        17
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 18 of 58



 1    47         XPO CNW, Inc.'s Response
                 to Plaintiff's Special
 2               Interrogatories, Set. No. 1
 3

 4

 5

 6

 7

 8

 9
10

11

12    48         XPO CNW, Inc.'s Amended
                 Response to Plaintiff's Special
13               Interrogatories

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        18
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 19 of 58



 1    49         XPO CNW, INC.’s Second
                 Amended Response to
 2               Plaintiff’s Special
 3               Interrogatories to XPO CNW,
                 Inc., Set one 11/1/2017
 4

 5

 6

 7

 8

 9
10

11

12    63         XPO CNW, INC.’s Second
                 Amended Response to
13               Plaintiff’s Special
                 Interrogatories to XPO CNW,
14               Inc., Set one 12/1/2017
15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        19
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 20 of 58



 1    50         XPO Logistics, Inc.'s
                 Responses to Plaintiff's
 2               Special Interrogatories, Set
 3               One

 4

 5

 6

 7

 8

 9
10

11

12    51         Defendant XPO CNW, Inc.'s
                 Response to Plaintiff's
13               Requests for Admissions

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        20
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 21 of 58



 1    52         Defendant XPO CNW Inc.'s
                 Amended Response to
 2               Plaintiff's Request for
 3               Admissions to XPO CNW,
                 Inc., Set One
 4

 5

 6

 7

 8

 9    53         XPO CNW, INC.’s Second
                 Amended Response to
10               Plaintiff’s Requests for
                 Admissions to XPO CNW,
11               Inc., Set one 4/12/17
12

13

14

15

16

17

18

19
      54         Email from Gordon Devens to
20               Renee O’Brien, Riina Tohvert
                 re Raymond F. O’Brien Past
21
                 Due 4/15/16 RO000224-
22               RO000225
      55         Consolidated Freightways
23               Advisory Nominating
                 Committee Minutes 10/28/91
24               XPO000623
25

26
27

28
                                                                        21
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 22 of 58



 1    56         Letter from D.E. Moffitt to
                 John Kelly re: Raymond
 2               O’Brien Employment Status
 3               1/13/92 XPO000020

 4

 5

 6    57         Lease Profile Form
                 XPO000387
 7

 8

 9
10
      58         Memo from Eb Schmoller to
11               Donald Moffitt re R.F.O'B
12               Status dated 11/18/93
                 XPO005716
13

14

15

16
      59         Consolidated Freightways
17               Inc.’s Form DEF 14A
                 XPO001292-XPO001342
18

19

20

21    60         Memo from Eb Schmoller to
                 Donald Moffitt re R.F.O'B
22               Status dated 9/28/94
                 XPO005715
23

24

25
      61         Consolidated Freightways
26               Inc.’s Form DEF 14 A
                 XPO001343-XPO001394
27

28
                                                                        22
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 23 of 58



 1    62         Letter from Donald Moffitt to
                 the Board of Directors re:
 2               Naming Raymond O’Brien
 3               Chairman Emeritus 4/5/95
                 XPO000382
 4

 5
      64         Consolidated Freightways
 6               Annual Meeting of Directors
                 4/29/95 XPO000007-
 7               XPO000016

 8

 9
10    65         Interoffice Memorandum from
                 Kevin Coel to Donald Moffitt
11               re: office costs 10/4/96
12               XPO000419

13

14    66         Memo from Eb Schmoller to
15               Don Moffitt re Retirement by
                 CEO and Chairman3/10/97
16               XPO005717

17

18

19
      67         Letter from Eberhard
20               Schmoller to CNF
                 Transportation Inc.
21
                 Compensation Committee
22               2/17/98 XPO005720-5721

23

24

25    68         Memo from Kris Scoumperdis
                 to Eb Schmoller re Further
26               review, Company provided
                 Administrative Support for
27               Retiring CEO 3/2/98
28               XPO005727
                                                                        23
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 24 of 58



 1    69         Consolidated Freightways,
                 Inc. Compensation Committee
 2               Minutes of the Meeting of
 3               December 7, 1987 XPO-
                 000021-22
 4

 5

 6    70         Letter of Transmittal from
                 Maureen Hagen to Mee Tha,
 7               Jackie Maude and Betsy
                 Johnson 10/21/02
 8               XPO000393-395
 9
10    71         November 21, 2002 Letter
                 from Donald Moffitt to
11               Edberhard Schmoller
12               XPO0000592

13

14    72         Email from Keith Kennedy to
15               Doug Stotlar, Jim Allen and
                 Jennifer Pileggi 9/14/05 Re:
16               Former Chair Office Issues
                 XPO000368
17    73         CNF Inc. Regular Meeting of
                 directors 10/19/05
18
                 XPO000938
19
      74         CNF Inc. Regular Meeting of
20               Directors 12/5/05
                 XPO000944-XPO000948
21

22    75         Compensation Committee
                 Meeting Minutes 12/5/05
23               XPO000671- XPO000694
24
      76         Wells Fargo photocopies of
25               checks from Con-Way Inc. to
                 O’Brien Interests Inc.
26               RO000001-RO000062
27

28
                                                                        24
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 25 of 58



 1    77         CNF Inc. Regular Meeting of
                 Directors 1/23/06 Revised
 2               3/20/06 XPO001014-
 3               XPO001020
      78         CNF, Inc. Administrative
 4               Expense Statement for the
                 period February, 2006
 5               XPO005755-5758
 6

 7
      80         Letter from Donald Moffitt to
 8               Dr. Keith Kennedy 3/21/06
 9               XPO002774-2775

10

11

12
      81         Email from Rich McCallister to
13               Jennifer Pileggi, Michele Reed
                 re: HQZ Cost Center
14               10/25/2007 XPO 005813-
                 5815
15

16
      83         Con-Way Inc. Meeting of the
17               Board of Directors 8/29/15
18               XPO000571-XPO000574.

19
      85         Con-Way Inc. Telephonic
20               Meeting of the Board of
                 Directors 9/8/15 XPO000591-
21
                 XPO000606
22

23    86         Agreement and Plan of
24               Merger by and among XPO
                 Logistics, Inc. and Con-Way
25               Inc. 9/9/15 XPO000232-
                 XPO000314
26    87         September 9, 2015 letter from
                 Douglas Stotlar to Former
27               Employees MOFF114
28
                                                                        25
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 26 of 58



 1    88         September 30, 2015 email
                 from Stephen Krull to Pamela
 2               Oxendine
 3

 4

 5

 6

 7

 8    89         Resolutions of the Board of
 9               Directors of Con-Way Inc.
                 Adopted by Unanimous
10               Written Consent 10/30/15
                 XPO000524-XPO000528
11               (XPO-005605-09)
      91         By-Laws of XPO CNW, INC.
12
                 f/k/a Con-Way Inc. 10/30/15
13               XPO000224-XPO000231;
                 XPO000075-XPO00080
14    92         Email from Riina Tohvert to
                 Gordon Devens re: O'Brien
15               and Moffitt Ongoing
                 Obligations 11/6/2015
16
                 XPO005816
17    93         Email from Gordon Devens to
                 Uzma Ahmad re: Former
18               CEOs 11/16/2015 XPO
                 005840
19    94         Secretary of State Name
20               Change Certificate of
                 Qualification 11/11/15
21               XPO000001-XPO000004

22

23

24

25

26
27

28
                                                                        26
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 27 of 58



 1    98         Accounting Report of O’Brien
                 Interests Transactions,
 2               Payments and Purchase
 3               Orders from 1/1/06 through
                 1/11/15 XPO000325 (excel
 4               file)

 5

 6
      99         XPO CNW, Inc. Unanimous
 7               Written Consent of Board of
                 Directors in Lieu of Meeting
 8               XPO 005610-5612
 9    100        Medical Records Produced by
                 Dr. Richard Byrd, February
10               2018
      101        Deposition of Sharon Ferro
11               dated March 14, 2018
12

13

14

15

16    102        Email from Uzma Ahmad to
                 Dan Egeler re: O'Brien
17               Invoices 2/12/2016 XPO
                 005818
18    104        Email from Debbie Barks to
19               Riina Tohvert re: O'Brien
                 Interests Invoices 2/17/2016
20               XPO 5826-5839
      105        Email from Katherine Wenger
21               to Kelly Knudson re: Ray
                 O'Brien's deposition
22               12/6/2016
23

24

25

26
27

28
                                                                        27
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 28 of 58



 1    106        Email from Renee O’Brien to
                 Gordon Devens re XPO
 2               Outstanding Invoices 3/8/16
 3               11:14 a.m. RO000205-
                 RO000210
 4

 5

 6
      107        Email from Renee O'Brien to
 7               Gordon Devens (including
                 Ray O'Brien) 3/17/2016 1:47
 8               p.m. XPO005632
 9    108        Email from Renee O’Brien to
                 Gordon Devens re Raymond
10               F. O’Brien 3/25/16 8:24 a.m.
                 XPO005633-38
11    110        Email from Ray O’Brien to
                 Renee O’Brien re Raymond F.
12               O’Brien 4/4/16 RO000220-
13               RO000221

14    111        Email from Renee O'Brien to
                 Gordon Devens and Riina
15               Tohvert 4/8/2016 10:13 a.m.
16               XPO005641-42 (RO000222)
      115        XPO CNW, Inc. Action by the
17               Sole Stockholder by Written
                 Consent in Lieu of Annual
18               Meeting XPO005613
19
      116        Email from Gordon Devens to
20               Dan Egeler re: Unassignment
                 Admin - CES - Privileged
21               5/16/2016 XPO 005819-5825
22

23    117        O’Brien Interest Invoice to
                 Con-Way Transportation/
24               XPO 6/1/16 XPO000333-
                 XPO000334
25

26
27

28
                                                                        28
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 29 of 58



 1    118        Email from Riina Tohvert to
                 Gordon Devens July 29, 2016
 2               8:45 a.m. XPO005645-46
 3    120        LinkedIn Profile of Gordon
                 Devens
 4    121        XPO Logistics Form 10-Q
                 dated September 30, 2019
 5

 6    123        XPO Logistics, Inc. form 10-K
                 for the Fiscal Year Ended
 7               December 31, 2015
 8
      124        Krull Documents re:
 9               Raymond O'Brien and Donald
                 Moffit Retirement Benefits
10               KRULL0001-KRULL0036
      125        Consolidated Freightways By-
11               Laws XPO001124-
                 XPO001148
12
      126        Declaration regarding Death
13               of Trustee R000317-322
      128        Expert Report of Dr. Paul S.D.
14               Berg P.H.D.
      129        Dr. Paul Berg File produced
15
                 prior to deposition, including
16               notes (Deposition Exs. 4-5),
                 amended complaint, funeral
17               program and deposition
                 transcripts of Kathleen
18               O'Brien, Christopher O'Brien
19               and Raymond O'Brien
      130        CF, Inc. Link Publication
20               RO00394-404

21

22
      131        Legend of Con-Way Forward
23               RO000405-407

24

25
      132        Consolidated Freightways the
26               First 50 Years RO328-393

27

28
                                                                        29
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 30 of 58



 1    133        Case Management and
                 Pretrial Order (ECF No. 19)
 2

 3

 4

 5

 6
      134        Defendants' Initial Disclosures
 7               served October 7, 2016
      103        XPO CNW, Inc. Disclosures
 8               served April 24, 2017
 9    119        XPO Logistics, Inc. Initial
                 Disclosures served July 7,
10               2017
      23         Defendants' Supplemental
11               Initial Disclosures served
12               November 1, 2017
      135        XPO CNW, INC.’s Answer to
13               Plaintiff’s Complaint 12/16/16
                 (ECF No. 25)
14

15
      136        Order re Substitution of
16               Plaintiff 3/14/17 (ECF No. 31)

17

18

19    137        Order Granting Motion to Set
                 Aside Scheduling Order and
20               For Leave to File Amended
                 Complaint (ECF No. 66)
21

22

23

24
      138        Plaintiff's First Amended
25               Complaint (ECF No. 78)
      139        Defendants' Answer to
26               Plaintiff's First Amended
                 Complaint (ECF No. 82)
27    140        Defendant's Third Amended
28               Responses to Plaintiff's
                                                                        30
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 31 of 58



 1               Special Interrogatories
 2
      141        Declaration of Gordon Devens
 3               in Support of XPO CNW,
                 Inc.’s and XPO Logistics,
 4               Inc.’s Motion for Summary
                 Adjudication (ECF No. 141-2)
 5    142        Court Order Granting
 6               Plaintiff's Motion for Partial
                 Summary Judgment and
 7               Denying Defendants' Motion
                 for Summary Adjudication
 8               (ECF No. 165)
      143        Deposition Transcript of
 9               Raymond O’Brien (including
10               all Exhibits and Videotape)
                 11/30/16, including errata
11

12

13

14    144        Email from Katherine Wenger
                 to Knudson re: Errata Sheet
15               from Raymond O’Brien
                 January 13, 2017
16

17

18    145        Deposition Transcript of
                 Raymond O’Brien Volume II
19               (including all Exhibits and
                 Videotape) 1/17/17
20

21
      146        Deposition Transcript of Larry
22               Scott 2/16/17 (See Deposition
                 Designations)
23

24

25

26
27

28
                                                                        31
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 32 of 58



 1    147        Deposition Transcript of
                 Douglas Stotlar 2/23/17 (See
 2               Deposition Designations)
 3

 4

 5

 6    148        Deposition Transcript of
                 Gordon Devens November
 7               28, 2017 (See Deposition
                 Designations)
 8

 9
10
      149        Deposition Transcript of
11               Stephen Krull March 9, 2017
12               (See Deposition Designations)

13

14

15
      153        Email from Riina Tohvert tp
16               Gordon Devens 2/25/2016
                 XPO-005617-5618
17    154        Email from Riina Tohvert to
                 Gordon Devens 3/4/2016
18
                 XPO005619-20
19    156        Email from Riina Tohvert to
                 Gordon Devens with
20               Voicemail from O'Brien
                 Interests 3/4/2016 XPO-
21               005621
22    157        Email from Riina Tozhvert to
                 Gordon Devens 3/28/2016
23               9:49 a.m. XPO-005639-5642
      158        Email from Renee O'Brien to
24               Gordon Devens and Riina
                 Tohvert 4/13/2016 10:56 a.m.
25
                 (Cc: Ray O'Brien and
26               Christopher O'Brien) XPO-
                 005643-5644
27

28
                                                                        32
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 33 of 58



 1    159        Defendant's Initial Production
                 of Documents October 16,
 2               2017 XPO00001-32
 3

 4

 5

 6

 7    160        Defendant's Additional
                 Production of Documents
 8               February 15, 2017,
 9               XPO000033-48

10

11

12

13    161        Plaintiff's Document Requests
                 to Defendant served January
14               18, 2017
15

16    162        Email from to
                 cbowers@seyfarth to
17               Katherine Wenger dated
                 March 28, 2017 re: XPO
18
                 Production
19    163        Dr. Paul Berg CV
      164        Dr. Paul Berg Expert Report
20               11/30/2017
21    165        Deposition Transcript of Dr.
                 Glenn Hammel (including all
22               exhibits) May 2, 2018

23

24

25

26
27

28
                                                                        33
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 34 of 58



 1   DEFENDANT'S         DESCRIPTION               DATE     DATE   LIMITATIONS
     EXHIBIT NO.
                                                 OFFERED RECEIVED    ON USE
 2
                                                   INTO     INTO
 3                                               EVIDENCE EVIDENCE
     200           Letter from Thomas Ford to
 4                 Raymond O’Brien, attaching
                   Sand Hill Lease 1/20/88
 5                 Bates XPO000498-
                   XPO000503
 6
     201           ER Real Estate Lease and
 7                 Relocation Costs for CNF
                   and MWW/MLG
 8                 Headquarters 4/22/05 Bates
                   XPO001003-XPO001005
 9
10
     203           CNF Transportation Inc.’s
11                 Form 10-K for fiscal year
                   ended December 31, 1999
12                 XPO004211-XPO004287
13

14

15

16   204           Meeting Minutes -
                   Consolidated Freightways,
17                 Inc. Compensation
                   Committee Meeting,
18                 November 30, 1987 Bates
                   XPO000165-XPO000174
19
     205           Con-way Inc. Meeting of
20                 Special Committee of the
                   Board of Directors March 6,
21                 2009 XPO000428-447
22

23

24

25

26
27

28
                                                                            34
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 35 of 58



 1   206          Deposition Transcript of
                  Christopher O’Brien 11/6/17
 2
                  (including all Exhibits)
 3

 4

 5

 6
     207          Deposition Transcript of
 7                Kathleen O’Brien 11/9/17
                  (including all Exhibits)
 8

 9
10

11

12   208          Deposition Transcript of
                  Sharon Ferro 3/14/18
13                (including all Exhibits)

14

15

16

17   209          Charter of the Compensation
18                Committee of the Board of
                  Directors of Con-way Inc.
19                (effective June 25, 2013)
                  Bates XPO 005686-XPO
20                005689
21

22

23

24

25

26
27

28
                                                                        35
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 36 of 58



 1   210          Limited Power of Attorney
                  (November 2, 2016) Bates
 2
                  RO 000279-RO 000280
 3

 4

 5

 6

 7
     211          Plaintiff’s Initial Disclosures
 8                (October 7, 2016)
 9   212          Plaintiff’s Supplemental
                  Disclosures (December 12,
10                2016)
     213          Plaintiff’s Second
11                Supplement Disclosures
12                (September 6, 2017)
     214          Plaintiff’s Third Supplemental
13                Disclosures (October 31,
                  2017)
14   215          Plaintiff’s Fourth
                  Supplemental Disclosures
15
                  (October 31, 2017)
16   216          Plaintiff’s Response to XPO
                  CNW, Inc.’s Request for
17                Admissions, Set One (March
                  28, 2017)
18

19

20

21

22

23

24

25

26
27

28
                                                                        36
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 37 of 58



 1   217          Plaintiff’s Response to XPO
                  CNW, Inc.’s Special
 2                Interrogatories, Set One
 3                (March 28, 2017)

 4

 5

 6

 7

 8

 9
10

11

12   218          Plaintiff’s Further Amended
                  Responses to XPO CNW,
13                Inc.’s Special Interrogatories,
                  Set One (April 19, 2017)
14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        37
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 38 of 58



 1   219          Plaintiff’s Amended
                  Responses to XPO CNW,
 2                Inc.’s Requests for
 3                Admission, Set One (April
                  20, 2017)
 4

 5

 6

 7

 8

 9
10

11

12   220          Deposition Transcript of Dr.
                  Paul S.D. Berg, Volume I,
13                January 18, 2018, (including
                  all Exhibits)
14

15

16

17   221          Deposition Transcript of Dr.
                  Paul S.D. Berg, Volume II,
18
                  January 31, 2018, (including
19                all Exhibits)

20

21

22
     223          Invoice of Dr. Paul S.D. Berg
23                to Brown, Gee & Wenger,
                  LLP, 1/15/2018, Berg Dep.
24                Ex. 6 (no bates)
25   224          List of Trial
                  testimony/depositions for
26                Paul Berg (1/1994 - 9/2017),
                  Berg Dep. Ex. 8 (no bates)
27

28
                                                                        38
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 39 of 58



 1   226          Report of Defendants'
                  Rebuttal Expert Witness,
 2                Glenn Hammel, 12/28/2017
 3

 4
     227          CV of Dr. Glenn Hammel
 5                March 2018, Hammel Dep.
 6                Ex. 4, Bates HAM000022-48
     228          Typed Notes of Dr. Glenn
 7                Hammel Re: O’Brien case,
                  Hammel Dep. Ex. 7 (no
 8                bates)
 9
10   229          Email from Dr. Glenn
                  Hammel to Tatyana Shmygol
11                Re: Diagnosis of Dead
12                Individuals, March 23, 2018,
                  Hammel Dep. Ex. 9 (no
13                bates)
     230          Email from R. O’Brien to K.
14                Kennedy Re: Hillary’s Behind
                  the scenes, 9/27/2016, Bates
15                RO000239
16

17

18

19

20   231          Email from K. Kennedy to K.
                  Wenger Re: Doug Stotlar,
21                11/3/2016, Bates RO000255
22

23

24

25

26
27

28
                                                                        39
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 40 of 58



 1   232          Plaintiff’s Response to
                  Defendant XPO Logistics,
 2                Inc.’s Special Interrogatories,
 3                Set One (September 26,
                  2017)
 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16   233          Plaintiff’s Response to
                  Defendant XPO CNW, Inc.’s
17                Requests for Production of
                  Documents, Set Two
18                (September 26, 2017)
19

20

21

22
     234          LinkedIn profile for Jennifer
23                Pileggi (2/1/17), Pileggi Dep.
                  Ex. 3 (no bates)
24

25

26
27

28
                                                                        40
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 41 of 58



 1   235          6127 Paseo Delicias,
                  Rancho Santa Fe Home
 2                Photographs (1 through 8)
 3

 4

 5

 6

 7

 8   236          6127 Paseo Delicias,
 9                Rancho Santa Fe Property
                  Transaction History
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        41
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 42 of 58



 1   237          6127 Paseo Delicias,
                  Rancho Santa Fe Home
 2                Zillow Home Purchase
 3                History

 4

 5

 6

 7

 8

 9
10

11

12

13   238          75453 14th Green Drive,
                  Indian Wells Property
14                Valuation
15

16

17

18

19

20

21
     239          75453 14th Green Drive,
22                Indian Wells Home
                  Photographs (1 through 10)
23

24

25

26
27

28
                                                                        42
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 43 of 58



 1   240          Vi at Palo Alto Brochure
 2

 3

 4

 5

 6

 7

 8

 9
10   241          Vi at Palo Alto Costs
11

12

13

14

15

16

17

18

19   242          Vi at Palo Alto Amenities

20

21

22

23

24

25

26
27

28
                                                                        43
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 44 of 58



 1   243          Vi at Palo Alto Images
 2

 3

 4

 5

 6

 7

 8   244          J. & C. O’Brien Interests Inc.
 9                Articles of Incorporation filed
                  June 8, 1983
10

11

12

13

14

15

16   245          Certificate of Amendment of
                  Articles of Incorporation for
17                O'Brien Claussen Inc., filed
                  December 14, 1989
18

19

20

21

22

23

24

25

26
27

28
                                                                        44
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 45 of 58



 1   246          O’Brien Interests Inc.
                  Statement of Information (SI-
 2                550), filed April 2, 2018
 3

 4

 5

 6

 7

 8

 9   247          San Diego County Public
                  Records Deed for 6127
10                Paseo Delicias, Rancho
                  Santa Fe, CA, 92067,
11                Document No. 2016-
                  0459656, September 2,
12
                  2016
13

14

15

16

17

18
     248          San Diego County Public
19                Records Deed for 6127
                  Paseo Delicias, Rancho
20                Santa Fe, CA, 92067,
                  Document No. 2018-
21                0374890, September 11,
22                2018

23

24

25

26
27

28
                                                                        45
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 46 of 58



 1   249          San Diego County Public
                  Records Deed for 6127
 2                Paseo Delicias, Rancho
 3                Santa Fe, CA, 92067,
                  Document No. 2018-
 4                0374889, September 11,
                  2018
 5

 6

 7

 8

 9
10
     251          Defendant's Trial Brief Dkt.
11                No. 49 5/17/2017
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                        46
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 47 of 58



 1

 2

 3
                               UNITED STATES DISTRICT COURT
 4
                              NORTHERN DISTRICT OF CALIFORNIA
 5

 6
     RAYMOND F. O’BRIEN, an individual,             Case No. 3:16-cv-03869-JCS
 7                    Plaintiff,
           v.                                       APPENDIX B
 8   XPO LOGISTICS WORLDWIDE, INC., a
     Delaware corporation; CON-WAY GLOBAL           PLAINTIFF’S WITNESS LIST
 9   SOLUTIONS, INC., a Delaware corporation;
     and DOES 1-20, inclusive,
10                    Defendants.
11

12

13

14   Witness                      Subject of Testimony            Estimate of Time
15

16   1. Christopher O’Brien       Raymond O’Brien’s career with
                                  and service to Con-Way,           Direct: 2.5 hours
17                                Role of O’Brien Interests, Inc.   Cross: See Defendants’
                                  and services it provided to
18                                Raymond O’Brien, authority of estimate of time below.
                                  O’Brien Interests, Inc. to act on
19                                Raymond O’Brien’s behalf;
20                                O’Brien Interests, Inc., Use of
                                  $6,000 a month that O’Brien
21                                Interests received from Con-
                                  Way, office and secretary
22                                services used by Raymond
                                  O’Brien after 2005 and cost
23
                                  thereof; Raymond O’Brien’s
24                                use of administrative support
                                  and an office after 2005;
25                                submission of invoices to Con-
                                  Way, Con-Way payment of
26                                invoices from 2006 through
                                  November 2015, Con-Way
27
                                  cessation of payment in
28                                December of 2015, Con-Way
                                                                                             47
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 48 of 58



 1                                   cessation of payment, Con-Way
                                     lack of notice of cessation of
 2                                   payments; communications
 3                                   with Defendants regarding lack
                                     of payment.
 4                                   Raymond O’Brien’s
                                     assignment of his claims
 5                                   against Con-Way to his family
                                     trust, and status of Christopher
 6
                                     O’Brien (as trustee of the
 7                                   Raymond F. O’Brien Family
                                     Trust) as Raymond O’Brien’s
 8                                   successor in interest; emotional
                                     distress suffered by Raymond
 9                                   O’Brien as a result of Con-
                                     Way’s stopping payments
10
                                     owed; authentication of records
11                                   signed by Raymond O’Brien.
         2. Raymond O’Brien          Non-Cumulative Testimony:
12                                   Raymond O’Brien’s                Direct: 2.5 hours
                                     employment history with Con- Cross: See Defendants’
13                                   Way6. Raymond O’Brien’s
14                                   agreement with Con-Way;          estimate of time below.
                                     value provided by Raymond
15                                   O’Brien pursuant to the
                                     Original Agreement and the
16                                   Agreement as Modified;
                                     original benefits provided by
17                                   Con-Way under the Agreement;
18                                   Con-Way’s payments under the
                                     Agreement between 2006 and
19                                   November of 2015,
                                     communications with Con-way
20                                   regarding Con-Way’s failure to
                                     make payments to Raymond
21                                   O’Brien after November of
22                                   2015; emotional/mental distress
                                     resulting from Con-Way’s
23                                   cessation of payments in
                                     December of 2015.
24

25

26
     6
27     Con-Way as used herein shall refer and including Defendant XPO CNW, Inc., which was
     formerly known as Con-Way, Inc. and before that Consolidated Freightways, Inc., and any/all of
28   its predecessors in interest.

                                                                                                 48
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 49 of 58



 1                              Non-Cumulative Testimony
     3. Lary Scott              Authentication of original        Direct: 15 minutes
 2                              agreement and related             Cross: 15 minutes
 3                              correspondence
                                Cumulative Testimony
 4   4. Keith Kennedy           The terms of the Original         Direct: 1.5 hours
                                Agreement; Con-Way’s board        Cross: 45 minutes
 5                              of director’s approval of the
                                Original Agreement; Raymond
 6
                                O’Brien’s services provided to
 7                              Con-Way ;

 8                              Non-Cumulative Testimony:
                                The Parties performance of the
 9                              Original Agreement and
                                Agreement as Modified, the
10
                                services and value provided by
11                              Raymond O’Brien to Con-Way
                                pursuant to the Original
12                              Agreement and Agreement as
                                Modified, the negotiation and
13                              implementation of the
14                              Modification to the Original
                                Agreement; Con-Way’s board
15                              of director’s approval of the
                                Modification to the Agreement;
16                              Mr. Kennedy’s authority to
                                negotiate the Modification to
17                              the Original Agreement; costs
18                              of secretary, office and car
                                service being provided to
19                              Raymond O’Brien prior to
                                2006; reason for Modification
20                              to the Original Agreement;
                                Raymond O’Brien and Con-
21                              Way’s performance under the
22                              Agreement as Modified,
                                authentication of records
23                              written and/or signed by
                                Raymond O’Brien; attempt to
24                              contact Con-Way and XPO
                                after the Merger Transaction
25
                                regarding the Agreement; lack
26                              of any attempt by Con-Way
                                and/or XPO to contact him after
27                              the Merger Transaction
                                regarding the Agreement.
28
                                                                                       49
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 50 of 58



 1                              Non-Cumulative Testimony
     5. Douglas Stotlar         XPO Logistics acquisition of       Direct: 20 minutes
 2                              Con-Way stock, Con-Way’s           Cross: 20 minutes
 3                              ratification of the Agreement as
                                Modified and disclosure of
 4                              Con-Way’s financial
                                obligations to Raymond
 5                              O’Brien
                                Cumulative Testimony
 6
                                Benefits provided by Con-Way
 7                              Raymond O’Brien under the
                                Original Agreement, the
 8                              negotiation and implementation
                                of the Modification to the
 9                              Original Agreement, Con-
                                Way’s performance of its
10
                                obligations under the Original
11                              Agreement and Agreement as
                                Modified; Keith Kennedy’s
12                              authority to negotiate the
                                Modification of the Original
13                              Agreement
14                              Non-Cumulative Testimony
     6. Jennifer Pileggi        Negotiation and                    Direct: 20 minutes
15                              implementation of the              Cross: 20 minutes
                                Modification to the Original
16                              Agreement, Con-Way’s
                                ratification and approval of the
17                              Agreement as Modified, the
18                              Parties performance of the
                                Original Agreement and
19                              Agreement as Modified.
                                Approval of payments to Mr.
20                              O’Brien pursuant to the
                                Agreement as modified, Keith
21                              Kennedy’s authority to
22                              negotiate the Modification to
                                the Original Agreement
23                              Non-Cumulative Testimony
     7. Renee O’Brien           Communications with Con-           Direct: 30 minutes
24                              Way regarding their failure to     Cross: 30 minutes
                                make payments beginning in
25
                                December of 2015; failure of
26                              Defendant to give notice that
                                they would be stopping
27                              payments.
                                Cumulative Testimony
28                              Invoices sent to Con-Way for
                                                                                        50
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 51 of 58



 1                              payments due under the
                                Agreement; Payments made by
 2                              Con-Way for payments due
 3                              under the Agreement; the
                                Parties performance of the
 4                              Agreement as Modified;

 5   8. Stephen Krull           Non-Cumulative Testimony:
                                Con-Way’s knowledge,               Direct: 30 minutes
 6
                                acknowledgment, ratification of    Cross: See Defendants’
 7                              the Original Agreement and
                                Agreement as Modified; the         estimate of time below.
 8                              performance of the Parties
                                under the Agreement as
 9                              Modified; Con-Way’s
                                disclosure to XPO Logistics,
10
                                Inc. of Con-Way’s obligation to
11                              pay Raymond O’Brien $6,000 a
                                month.
12   9. Gordon Devens           Non-Cumulative Testimony:
                                XPO Logistics, Inc. decision       Direct: 1.5 hours
13                              and instructions to Con-Way to     Cross: See Defendants’
14                              stop making payments to
                                Raymond O’Brien; Con-Way           estimate of time below.
15                              and XPO Knowledge of
                                obligation to Raymond
16                              O’Brien; XPO’s and process
                                by which that decision was
17                              made and basis for and intent in
18                              making that decision; failure of
                                Con-Way and/or XPO to
19                              provide notice of decisions,
                                communications with Raymond
20                              O’Brien regarding decision.
                                Cumulative Testimony
21
                                Con-Way payment of invoices
22                              from Raymond O’Brien
                                through November of 2015.
23                              Con-Way’s cessation of
                                payments in December of 2015
24   10. XPO CNW, Inc. and      Non-Cumulative Testimony:
         XPO Logistics, Inc.    Authentication of Con-Way          Direct: 30 minutes
25
         Custodian of Records   Records as needed.                 Cross: See Defendants’
26
                                                                   estimate of time below.
27   11. Katherine Wenger       Non-Cumulative Testimony
                                Timing of Defendants’              Direct: 20 minutes
28
                                                                                             51
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 52 of 58



 1                                    disclosure of Merger
                                      Agreement and related               Cross: 15 minutes
 2                                    disclosure document;
 3                                    authentication of records as
                                      needed
 4    12. Kathleen O’Brien            Non-Cumulative Testimony
                                      Raymond O’Brien’s mental            Direct: 45 minutes
 5                                    pain and suffering, emotional       Cross: See Defendants’
                                      distress
 6
                                                                          estimate of time below.
 7    13. Sharon Ferro                Non-Cumulative Testimony
                                      Raymond O’Brien’s mental            Direct: 20 minutes
 8                                    pain and suffering, emotional       Cross: See Defendants’
                                      distress
 9
                                                                          estimate of time below.
10    14. Dr. Paul Berg               Non-Cumulative Testimony
                                      Raymond O’Brien’s mental            Direct: 1 hour
11                                    pain and suffering, emotional       Cross: 1 hour
12

13          Plaintiff also reserves the right to call any witnesses identified on Defendants’ witness list
14
     as part of its case in chief, and/or any witnesses necessary for rebuttal or impeachment purposes.
15

16      DATED: December 28, 2019                         BROWN, GEE & WENGER LLP
17
                                                         /s/ Katherine Wenger
18
                                                         KATHERINE F. WENGER
19                                                       Attorneys for Christopher R. O’Brien as
                                                         Trustee of the Raymond F. O’Brien
20                                                       Revocable Trust
21

22

23

24

25

26
27

28
                                                                                                       52
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 53 of 58



 1   SEYFARTH SHAW LLP
     G. Daniel Newland (SBN 87965)
 2   Email: dnewland@seyfarth.com
     Laura J. Maechtlen (SBN 224923)
 3   E-mail: lmaechtlen@seyfarth.com
     Chantelle C. Egan (SBN 257938)
 4   E-mail: cegan@seyfarth.com
     Megha J. Charalambides (SBN 310892)
 5   Email: mcharalambides@seyfarth.com
     560 Mission Street, Suite 3100
 6   San Francisco, CA 94105-2930
     Telephone:    (415) 397-2823
 7   Facsimile:    (415) 397-8549
 8   Attorneys for Defendant
     XPO CNW, INC.
 9
10
                                UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12

13
     RAYMOND F. O’BRIEN, an individual,         Case No. 3:16-cv-03869-JCS
14                    Plaintiff,
           v.                                   APPENDIX B
15   XPO LOGISTICS WORLDWIDE, INC., a
     Delaware corporation; CON-WAY GLOBAL       DEFENDANT’S WITNESS LIST
16   SOLUTIONS, INC., a Delaware corporation;
     and DOES 1-20, inclusive,
17                    Defendants.
18

19

20

21

22

23

24

25

26
27

28
                                                                             53
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 54 of 58



 1
        Witness               Substance of Testimony                 Estimate of Time (Direct)
 2
     Raymond         Non-cumulative testimony
 3   O’Brien                                                          2.5 hours
                     Raymond O’Brien (“O’Brien”) is expected
 4                   to testify regarding his employment with
                     and service on the Board of Directors of
 5                   Consolidated Freightways, Inc. He is also
                     expected to testify regarding negotiations of
 6                   a 1987 arrangement with Consolidated
                     Freightways, Inc. and the terms (or absence
 7                   of the terms) of the arrangement. O’Brien
                     is further expected to testify regarding the
 8                   2006 verbal arrangement alleged in his
                     complaint and the terms (or absence of
 9                   terms) and circumstances surrounding its
                     negotiation. O’Brien is expected to testify
10                   regarding his obligations (or lack of
                     obligations) under the arrangement as well
11                   as the performance of the obligations, if
                     any, by both parties. He is also expected to
12                   testify regarding services and payments
                     received related to his arrangement with
13                   Consolidated Freightways, Inc. and its
                     successors. He is expected to testify
14                   regarding performance related to the
                     arrangement. He is also expected to testify
15                   regarding his relationship with XPO CNW,
                     Inc. and any obligations it had to him.
16                   O'Brien is also expected to testify regarding
                     his sources of income and investments,
17                   including his involvement with O’Brien
                     Interests, Inc. (“OBI”). He is expected to
18                   further testify regarding his son Christopher
                     O’Brien’s involvement is this lawsuit.
19
     Stephen Krull   Non-cumulative testimony
20                                                                    2.5 hours
                     Mr. Krull was the Executive Vice President,
21                   General Counsel, and Corporate Secretary
                     of Con-way, Inc. from 2011 to 2015. Mr.
22                   Krull is expected to testify regarding the
                     nature of any understanding between
23                   O’Brien and Con-way, Inc. as well as any
                     obligations related to that understanding.
24                   Mr. Krull is also expected to testify
                     regarding the nature of the payments to
25                   O’Brien and any obligation to continue.
                     Mr. Krull is expected to testify regarding
26                   his investigation concerning whether Con-
                     Way, Inc. had a contractual obligation to
27                   pay a $6,000 stipend to O’Brien, and the
                     Board’s role in continuing payments. Mr.
28                   Krull is also expected to testify regarding
                                                                                                 54
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 55 of 58



 1                    XPO Logistics, Inc.’s acquisition of Con-
                      Way, Inc., and, more specifically, Con-way,
 2                    Inc.’s company disclosure letter associated
                      with its merger with XPO Logistics, Inc.
 3                    and the circumstances and meaning related
                      to the disclosures. He is further expected to
 4                    testify regarding the corporate formalities
                      that were in place at Con-Way, Inc.
 5
     XPO CNW,         Non-cumulative testimony                           30 minutes
 6   Inc. Custodian
     of Records       The custodian of records will testify to the
 7                    authenticity of company records that were
                      not otherwise authenticated.
 8
     XPO CNW,         Non-cumulative testimony                        Direct: 30 minutes
 9   Inc. Custodian
     of Records       The custodian of records will testify to the    Cross: 30 minutes
10                    authenticity of company records that were
                      not otherwise authenticated.
11
     Gordon Devens    Non-cumulative testimony                        4.0 hour
12
                      Gordon Devens was the Chief Legal Officer
13                    of XPO Logistics, Inc. from 2015 to 2017.
                      Mr. Devens will testify regarding his
14                    experience in conducting M&A transactions
                      and corporate development. Mr. Devens is
15                    expected to testify regarding the merger of
                      Con-way, Inc. and XPO Logistics, Inc., as
16                    well as XPO Logistics, Inc.’s receipt and
                      interpretation of the Company Disclosure
17                    Letter. Mr. Devens is expected to testify
                      regarding the corporate formalities that
18                    were in place at XPO Logistics, Inc., and its
                      subsidiaries. Mr. Devens is further
19                    expected to testify regarding his conclusion
                      that there was no contractual obligation to
20                    O’Brien.
21   Christopher      Non-cumulative testimony                        2.5 hours
     O’Brien
22                    Christopher O’Brien is the Trustee of the
                      Raymond F. O’Brien Revocable Trust (the
23                    “Trust”). Christopher O’Brien is expected
                      to testify regarding the Trust, his
24                    responsibilities as the Trustee, and
                      Raymond O’Brien’s assignment of his
25                    claims against Defendants to the Trust.
                      Christopher O’Brien is expected to testify
26                    regarding his involvement in this lawsuit
                      during O’Brien’s lifetime and his decision
27                    to amend the complaint after O’Brien’s
                      death. Christopher O’Brien is expected to
28                    testify regarding Raymond O’Brien’s
                                                                                           55
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 56 of 58



 1                      investments and sources of income, as well
                        the same for Christopher O’Brien and his
 2                      siblings. Christopher O’Brien is expected
                        to testify regarding O’Brien’s health and
 3                      emotional wellbeing.
 4    Kathleen          Kathleen O’Brien is one of O’Brien’s adult       45 minutes
      O’Brien           children.
 5
                        Cumulative testimony
 6
                        Kathleen O’Brien is expected to testify
 7                      regarding O’Brien’s health and emotional
                        wellbeing (similar to Christopher O’Brien).
 8
                        Non-cumulative testimony
 9
                        Kathleen O’Brien is expected to testify
10                      regarding her financial condition, including
                        financial support she has received from
11                      O’Brien during his life and through his
                        Trust or estate,
12
      Sharon Ferro      Non-cumulative testimony                         1.5 hours
13
                        Sharon Ferro was O’Brien’s companion.
14                      Ms. Ferro is expected to testify regarding
                        her relationship with O’Brien, as well as her
15                      observations of O’Brien during their
                        relationship. Ms. Ferro will testify to
16                      O’Brien’s physical and mental wellbeing.
                        Ms. Ferro is also likely to testify regarding
17                      O’Brien’s financial condition and his
                        relationship with his children.
18
      Dr. Glenn         Non-cumulative testimony                         1.5 hour
19    Hammel
                        Dr. Glenn Hammel is a clinical
20                      psychologist, with a specialty in geriatrics.
                        Dr. Hammel is expected to provide his
21                      expert opinion regarding O’Brien’s mental
                        wellbeing, as a rebuttal to Dr. Berg’s
22                      opinion.
23          Defendant also reserves the right to call any witnesses identified on Plaintiff’s witness list
24   and/or any witnesses necessary for rebuttal or impeachment purposes.
25

26
27

28
                                                                                                       56
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 57 of 58



 1   DATED: December 24, 2019          Respectfully submitted,
 2                                     SEYFARTH SHAW LLP
 3                                     By:
                                             Chantelle C. Egan
 4
                                       Attorneys for Defendants
 5                                     XPO CNW, INC. and XPO LOGISTICS, INC.
 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                               57
     [PROPOSED] FINAL PRETRIAL ORDER
     Case 4:16-cv-03869-JSW Document 218 Filed 12/30/19 Page 58 of 58



 1

 2                                     SIGNATURE ATTESTATION

 3            I hereby attest that all signatories listed above, on whose behalf this stipulation is

 4   submitted, concur in the filing’s content and have authorized the filing.

 5      DATED: December 30, 2019                           BROWN, GEE & WENGER LLP

 6
                                                           KATHERINE F. WENGER
 7
                                                           Attorneys for Plaintiff Christopher R.
 8                                                         O’Brien as Trustee of the Raymond F.
                                                           O’Brien Revocable Trust
 9
     60848269v.3
10   60917073v.1


11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                                                                       58
     [PROPOSED] FINAL PRETRIAL ORDER
